      Case 2:13-cr-00114-TOR           ECF No. 281     filed 11/24/14   PageID.712 Page 1 of 1




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                             UNITED STATES DISTRICT COURT
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                          EASTERN DISTRICT OF WASHINGTON
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     UNITED STATES OF AMERICA,                            No. 2:13-CR-114-FVS-2
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 9                        Plaintiff,                      ORDER GRANTING
                                                          DEFENDANT’S UNOPPOSED
10 vs.                                                    MOTION TO MODIFY
11
   ADOUNE LOUANGRATH,
12
13                        Defendant.
14          Before the Court is Defendant’s Motion to Modify pretrial release
15   conditions, and Motion to Expedite. ECF No. 279, 280. Defendant seeks, at the
16   request of the U.S. Probation Officer, to modify his conditions to eliminate the
17   curfew requirement.         The United States does not object to this request.
18   Accordingly,
19          IT IS ORDERED Defendant’s Motion to Expedite, ECF No. 280, and
20   Motion to Modify, ECF No. 279, are GRANTED. Defendant shall no longer be
21   subject to a curfew. All other terms and conditions of pretrial release not inconsistent
22   herewith shall remain in full force and effect.
23          DATED November 24, 2014.
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25                                     _____________________________________
                                                 JOHN T. RODGERS
26                                      UNITED STATES MAGISTRATE JUDGE
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     ORDER - 1
